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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE

UNITED STATES OF AMERICA                                                                  PLAINTIFF


v.                                                     CRIMINAL ACTION NO. 3:23-CR-55-DJH


JOHN ANTHONY SCHMIDT                                                                   DEFENDANT

                                               ORDER

        The United States of America having moved the Court for leave to file sealed documents, and the

Court being otherwise sufficiently advised;

        IT IS HEREBY ORDERED that the United States’ Motion is GRANTED and the Corporate

Disclosures are SEALED pending further Order of the Court.
